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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS

IN RE: NEW ENGLAND COMPOUNDING                            MDL No. 2419
PHARMACY, INC. PRODUCTS LIABILITY                         Master Dkt. 1:13-md-02419-RWZ
LITIGATION

THIS DOCUMENT RELATES TO:

All Actions


[PROPOSED] ORDER TO SHOW CAUSE CONCERNING REMAND AND TRANSFER

         WHEREAS, in 2012, the CDC identified a large number cases of fungal meningitis and

other infections associated with exposure to contaminated lots of methylprednisolone acetate

compounded by the New England Compounding Pharmacy, Inc. d/b/a New England

Compounding Center (“NECC”) in Framingham, Massachusetts and purchased by dozens of

pain clinics, hospitals, and doctors scattered throughout the country;

         WHEREAS, according to the CDC’s update of October 23, 2013, the outbreak of fungal

meningitis and other infections have affected individuals in over 20 states and caused more than

64 deaths. Over 753 people have been diagnosed with meningitis, fungal infections and/or

abscesses, and other injuries.1 The United States Food and Drug Administration (“FDA”) and

CDC have confirmed the presence of fungus in unopened vials of NECC’s methylprednisolone

acetate (“MPA”). The FDA2 and CDC3 also identified bacteria and/or fungus present in lots of

NECC preservative-free injectable betamethasone, preservative-free triamcinolone, and




   1
       http://www.cdc.gov/hai/outbreaks/meningitis-map-large.html#casecount_table.
   2
    http://www.fda.gov/downloads/AboutFDA/CentersOffices/OfficeofGlobalRegulatoryOperationsandPolicy/OR
A/ORAElectronicReadingRoom/UCM325980.pdf.
   3
       http://www.cdc.gov/hai/outbreaks/laboratory/index.html.
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cardioplegia solution. No one disputes that the contaminated products that caused these injuries

were made by NECC;

          WHEREAS, victims filed hundreds of civil actions in state and federal district courts

across the country, naming some combination of NECC, NECC’s affiliated companies, NECC’s

owners, NECC’s vendors, and healthcare clinics and providers that purchased and/or

administered NECC products;

          WHEREAS, these cases named four categories of defendants;

          WHEREAS, the “Affiliated Defendants” included NECC; affiliated entities GDC,

Medical Sales Management, and Ameridose;

          WHEREAS, the “Insiders” included NECC’s Owners/Shareholders (including Barry

Cadden, Lisa Cadden, Greg Conigliaro, and Doug Conigliaro) and pharmacist Glenn Chin;

          WHEREAS, the “National Defendants” were NECC’s vendors, and would be liable to all

victims if they were liable to any victims. They included UniFirst (the company that cleaned the

NECC cleanroom), Victory (the company that installed and maintained the NECC cleanroom

HVAC system), Liberty (the company that built the NECC cleanroom), and ARL (the company

that conducted sterility testing on NECC’s products);

          WHEREAS, the “Clinic Defendants” or “Provider Defendants”4 were hospitals, clinics,

doctors, and pharmacists that purchased contaminated products from NECC and/or injected

contaminated products into victims. These included Inspira, High Point, Insight, STOPNC, the

St. Thomas entities, Specialty Surgery Center, Howell Allan Clinic, Premier, Box Hill,

Advanced Pain & Anesthesia Consultants, Cincinnati Pain Management Consultants, OSMC

Outpatient Surgery Center, Ambulatory Care Center, BKC Pain Specialists, Encino Outpatient


   4
       The Court imports no specialized meaning to the phrase “healthcare provider” or “provider” as used herein.



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Surgery Center, Ocean State Pain Management, Sunrise Hospital and Medical, Dallas Back Pain

Management, Fullerton Orthopaedic Surgery Medical Group, Sequoia Surgery Center, Marion

Pain Management, MAPS, Wellspring Pain Solutions Clinic, Dr. O’Connell’s Pain Care Center,

and PCA Pain Care;

         WHEREAS, in December 2012, New England Compounding Pharmacy, Inc., filed for

bankruptcy under Chapter 11;5

         WHEREAS, on February 12, 2013, numerous civil cases filed in multiple federal

jurisdictions naming NECC and others were consolidated by the Judicial Panel on Multidistrict

Litigation and transferred to the District of Massachusetts.6 On April 9, 2013, then-presiding

Judge F. Dennis Saylor appointed two lawyers (Thomas M. Sobol and Kristen A. Johnson)

as lead counsel and established the seven person Plaintiffs’ Steering Committee;7

         WHEREAS, the JPML transferred a total of 379 civil actions to this district;

         WHEREAS, a number of civil actions have also been directly filed in this district or

removed from Massachusetts Superior Court;

         WHEREAS, on June 12, 2013, this Court asserted § 1334 related-to subject matter

jurisdiction over “all federal cases against NECC and its affiliates, and all state-court cases

against NECC and its affiliates, including cases where the claims are third-party claims for

contribution or indemnity.” The Court focused on the “substantial effect, on the bankruptcy




    5
      Voluntary Petition for Chapter 11 Bakruptcy, In re New England Compounding Pharmacy, Inc. (Debtor), 12-
br-19882-HJB (Mass. Bankr. Dec. 21, 2012).
    6
      Transfer Order, In re New England Compounding Pharmacy, Inc. Prods. Liab. Litig., No. 13-md-2419
(J.P.M.L. Feb. 12, 2013)(ECF No. 119).
   7
     MDL Order No. 2, In Re New England Compounding Pharmacy, Inc. Prods. Liab. Litig., No. 13-md-2419 (D.
Mass. Apr. 9, 2013)(ECF No. 82).



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estate,” that tort claims and contribution or indemnity claims had making “it difficult or

impossible to resolve the entire litigation in an equitable and efficient manner;” 8

          WHEREAS the Court declined to exercise jurisdiction over state-court cases that did not

involve claims against NECC or its affiliates;

          WHEREAS, on May 15, 2014, this Court reaffirmed its initial finding of related-to

subject-matter jurisdiction underscoring the effect of tort claims on the bankruptcy estate;9

          WHEREAS, on July 9, 2015, the Court ordered every party to a non-Massachusetts

underlying action to execute either a Lexecon waiver consenting to trial in this district or a

certification that the party will not waive its Lexecon rights;

          WHEREAS, on July 31, 2015, the PSC filed a report to the Court regarding Lexecon

elections, noting that only one defendant (Insight) waived Lexecon;10

          WHEREAS, on May 20, 2015, the Chapter 11 Plan for New England Compounding

Pharmacy, Inc. was confirmed by the Honorable Henry J. Boroff of the United States

Bankruptcy Court for the District of Massachusetts;

          WHEREAS, the Chapter 11 Plan became effective on June 4, 2015;11

          WHEREAS, the Chapter 11 Plan for New England Compounding Pharmacy, Inc.

resolved tort victims claims against NECC, the Affiliated Defendants, the Insiders, and the

National Defendants;12


    8
      Corrected Memorandum and Order on Trustee’s Motion to Transfer Cases and Related Motions, In Re New
England Compounding Pharmacy, Inc. Prods. Liab. Litig., 13-md-2419-FDS (D. Mass. June 12, 2013) (ECF No.
176).
    9
     Memorandum of Decision, In Re New England Compounding Pharmacy, Inc. Prods. Liab. Litig., 13-md-
2419-RWZ (D. Mass. May 15, 2014) (ECF No. 1131).
   10
      Plaintiffs’ Steering Committee’s Report to the Court Regarding Lexecon Election Forms, In Re New England
Compounding Pharmacy, Inc. Prods. Liab. Litig., 13-md-2419-RWZ (D. Mass. July 31, 2015) (ECF No. 2128)
    11
      Findings of Fact, Conclusions of Law and Order Confirming the Third Amended Joint Chapter 11 Plan of
New England Compounding Pharmacy, Inc., In Re New England Compounding Pharmacy, Inc. (Debtor), 12-BR-
19882 (HJB), Dkt. No. 1355.



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           WHEREAS, the Chapter 11 Plan for New England Compounding Pharmacy, Inc. also

resolved tort victims’ claims against some clinic-related defendants (including High Point,

Inspira, and Insight);13

           WHEREAS the following contributions were made to the estate for the benefit for tort

victims (after paying fees and expenses);

     National Settling Defendant                                    Expected Contribution
  NECC Owners/Shareholder Settlement                               $47,750,000 – 75,000,00014
      PMIC/Maxum Settlement                                               $25,200,000
        Ameridose Settlement                                              $10,000,000
           GDC Settlement                                                  $3,750,000
           ARL Settlement                                                  $6,400,000
          Victory Settlement                                               $5,500,000
         UniFirst Settlement                                              $30,500,000
          Liberty Settlement                                               $1,000,000
           Total Amount:                                          $130,100,000 - $157,350,000


               Provider Defendant                                          Contribution
               High Point Settlement                                        $3,500,000
                Inspira Settlement                                         $16,000,000
                Insight Settlement                                         $40,000,000
                  Total Amount:                                            $59,500,000


           WHEREAS, the Chapter 11 Plan resolved the indemnity and contribution claims against

NECC;

           WHEREAS, after the plan’s effective date, this Court dismissed all claims in the MDL

against defendants settling under the Chapter 11 Plan, including all cases against NECC, the

Affiliated Defendants, the National Defendants, Insight, Inspira, and High Point;15


    12
      Notice of Filing of Third Amended Joint Chapter 11 Plan of New England Compounding Pharmacy, Inc., In
Re New England Compounding Pharmacy, Inc. (Debtor), 12-BR-19882 (HJB), Dkt. No. 1352. These defendants
were referred to as the “national defendants” in the MDL.
    13
     Notice of Filing of Third Amended Joint Chapter 11 Plan of New England Compounding Pharmacy, Inc., In
Re New England Compounding Pharmacy, Inc. (Debtor), 12-BR-19882 (HJB), Dkt. No. 1352.
    14
         The range anticipates tax refunds due to the insiders, some of which have now been paid into the estate.
    15
      Order Dismissing Claims Against Settling Defendants, In Re New England Compounding Pharmacy, Inc.
Prods. Liab. Litig., 13-md-2419-RWZ (D. Mass. Aug. 25, 2015) (ECF No. 2193).



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          WHEREAS, the Clerk is in the process of entering final judgment in the more than 450

cases that were entirely resolved by the Chapter 11 Plan;

          WHEREAS, discovery concerning NECC and the national defendants has concluded and

those documents and materials obtained in discovery are available in a central online

repository;16

          WHEREAS, the PSC has committed to retaining copies of all discovery produced in the

MDL for the benefit of parties continuing to litigate cases involving NECC for a reasonable

amount of time (at least 4 years);

          WHEREAS, cases against the STOPNC defendants and St. Thomas entities are being

actively litigated, and the first bellwether trial had been set for August;

          WHEREAS, cases against other Tennessee clinics (including Specialty Surgery Center

and the Howell Allen Clinic, but excepting PCA Pain) are likewise being litigated pursuant to

Court-ordered pretrial schedules;

          WHEREAS, cases against the Premier defendants and Box Hill defendants are

proceeding according to the discovery schedule set by the Court;17

          WHEREAS, this Court entered a stay of discovery governing all other defendants (the

“remaining clinic defendants”), all of whom have four or fewer cases naming them as defendants

in the MDL;18

          WHEREAS, during the May 19, 2016 status conference, this Court extended that stay

until September 1, 2016;


    16
       See MDL Order No. 6: Case Management Order, In Re New England Compounding Pharmacy, Inc. Prods.
Liab. Litig., 13-md-2419-RWZ (D. Mass. June 28, 2013) (ECF No. 209).
    17
      See Amended Scheduling Order on Tennessee Actions (ECF No. 2827); Order Setting Discovery Deadlines
in Premier and Box Hill Cases (ECF No. 2851).
     18
        Electronic Order Granting Stay of Discovery, In Re New England Compounding Pharmacy, Inc. Prods. Liab.
Litig., 13-md-2419-RWZ (D. Mass. Jan. 4, 2016) (ECF No. 2254).



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            WHEREAS, the PSC has suggested that remand and/or transfer back to the federal

     district in which the case was originally filed is now appropriate for the remaining clinic

     defendants, unless counsel for the plaintiffs and/or the defendants in those cases object;

            WHEREAS, the below chart reflects remaining cases against clinics in the MDL except

     the STOPNC defendants, St. Thomas entities, Premier defendants, and Box Hill defendants;

     Case. No          Caption                               Clinic Defendant
     (D. Mass.)

1    1:13-cv-13227     Kennedy v. Unifirst                   Advanced Pain & Anesthesia Consultants, PC


2    1:13-cv-13228     Musselwhite v. Unifirst               Advanced Pain & Anesthesia Consultants, PC


3    1:14-cv-13676     Musselwhite v. Advanced Pain &        Advanced Pain & Anesthesia Consultants, PC
                       Anesthesia Consultants

4    1:14-cv-13689     Kennedy v. Advanced Pain &            Advanced Pain & Anesthesia Consultants, PC
                       Anesthesia Consultants

5    1:14-cv-10284     Brady v. Cincinnati Pain              Cincinnati Pain Management Consultants, Inc.
                       Management Consultants

6    1:14-cv-11224     Pettit v. Cincinnati Pain             Cincinnati Pain Management Consultants, Inc.
                       Management Consultants

7    1:14-cv-10432     Witt v. Cincinnati Pain               Cincinnati Pain Management Consultants, Inc.
                       Management Consultants

8    1:14-cv-11856     Gibson v. Liberty Industries          Cincinnati Pain Management Consultants, Inc.


9    1:14-cv-13739     Hosea v. UniFirst                     OSMC Outpatient Surgery Center


10   1:14-cv-14669     Hancock v. UniFirst                   OSMC Outpatient Surgery Center


11   1:14-cv-13708     Patel v. OSMC                         OSMC Outpatient Surgery Center


12   1:13-cv-12076     Allen v. Ameridose                    Ambulatory Care Center



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13   1:14-cv-14668   Griggs v. Unifirst                Ambulatory Care Center

14   1:14-cv-13027   Moore v. Unifirst                 Ambulatory Care Center

15   1:13-cv-12657   Montee v. BKC Pain Specialists    BKC Pain Specialists, LLC


16   1:13-cv-12659   Cooper v. BKC Pain Specialists    BKC Pain Specialists, LLC


17   1:14-cv-12884   Wynstock v. Ameridose             Encino Outpatient Surgery Center


18   1:13-cv-12015   Younani v. NECC                   Encino Outpatient Surgery Center


19   1:13-cv-10685   Hanson v. NECC                    Ocean State Pain Management


20   1:13-cv-10943   Simas v. NECC                     Ocean State Pain Management


21   1:14-cv-10362   Eldreth v. Sunrise Hospital       Sunrise Hospital and Medical


22   1:14-cv-10373   Henley v. UniFirst                Dallas Back Pain Management


23   1:14-cv-12789   Jeffries v. Ameridose             Fullerton Orthopaedic Surgery Medical Group


24   1:14-cv-12328   Tashima v. NECC                   Sequoia Surgery Center


25   1:15-cv-11367   Gilliam v. Chowdhury              Marion Pain Management

26   1:13-cv-13209   Edwards v. Unifirst               MAPS


27   1:14-cv-13548   Birge v. Unifirst                 Wellspring Pain Solutions Clinic

28   1:14-cv-10430   Daugherty v. PCA                  PCA Pain Care Center




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         WHEREAS, the Court sees no efficiencies to be gained by litigating cases against the

clinics listed in the above chart in the MDL, given the small number of cases against each clinic,

but wants to hear from counsel who may feel otherwise;

         WHEREAS the Court intends to address these matters at the June 22, 2016 status

conference;



IT IS HEREBY ORDERED:



         1.       Counsel for plaintiffs and defendants in the above list of cases shall have until

June 16, 2016 to show cause as to why their cases should not be remanded or transferred back to

the district in which they were originally filed, as appropriate.

         2.       Counsel for plaintiffs and defendants in the above list of cases who object to

transfer or remand shall meet and confer with opposing counsel by June 14, 2016 to try to reach

a consensus as to whether the case should be remanded or transferred.

         3.       Counsel for plaintiffs and defendants in the above list of cases who object to

remand and/or transfer shall file a memorandum of no more than 3 pages in the MDL docket by

June 16, 2016. The memorandum shall succinctly explain (1) what discovery, if any, of the

remaining defendants has been done to date, (2) what efficiencies will be gained by litigating

pretrial matters in the MDL.19

         4.       If counsel in cases other than those listed on Exhibit A believe that they have been

improperly omitted from the above list, please notify the PSC by emailing attorney Kristen




    19
       Willingness to waive Lexecon will help the Court to understand the scope of the potential work left to be
done in the MDL.



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Johnson (kristenj@hbsslaw.com) by June 14, 2016. Those counsel shall also file objections, if

any, as described above by June 16, 2016.

       5.      Counsel for plaintiffs and defendants in cases against Premier shall meet and

confer by July 14, 2016 and shall file by July 16, 2016 memorandums of no more than 3 pages

informing the Court as to whether they wish to continue litigating in the MDL or would prefer to

have the cases remanded or transferred, as appropriate. The Court encourages, but does not

require, a single filing on behalf of the Premier plaintiffs and a single filing on behalf of the

Premier defendants.

       6.      Counsel for plaintiffs and defendants in cases against Box Hill shall meet and

confer by July 14, 2016 and shall file by July 16, 2016 memorandums of no more than 3 pages

informing the Court as to whether they wish to continue litigating in the MDL or would prefer to

have the cases remanded or transferred, as appropriate. The Court encourages, but does not

require, a single filing on behalf of the Box Hill plaintiffs and a single filing on behalf of the Box

Hill defendants.

       7.      The PSC shall facilitate this process. Counsel with questions shall contact Kristen

Johnson, kristenj@hbsslaw.com, or (617) 482-3700.

       8.      This order does not apply to the STOPNC defendants, the St. Thomas entities,

The Howell Allan Clinic, or Specialty Surgery Center. The Court finds that litigation against

those clinics is sufficiently advanced that those cases should remain in the MDL and be litigated

according to the existing schedules.




                                                       Hon. Rya W. Zobel
                                                       United States District Judge




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